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         /
     /
I.




                                              IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF SOUTH CAROLINA



                                                                              Complaint for Violation of Civil
                                                                              Rights
                                                                            · (Prisoner Complaint)
                   (Write the full name of each plaintiff who is filing
                   this complaint. If the names of all the plaintiffs        Case No.
                   cannot fit in the space above, please write "see                     ----------
                                                                             (to be filled in by the Clerk's Office)
                   attached" in the space and attach an additional
                   page with the full list of names.)
                                                                             Jury Trial:     □ Yes     □ No
                                                                                             (check one)
                       -against-



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                   (Write the full name ofeach defendant who is
                   being sued. If the names of all the defendants
                   cannot fit in the space above, please write "see
                   attached" in the space and attach an additional
                   page with the full list of names. Do not include
                   addresses here.)


                                                               NOTICE

             Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public
             access to electronic court files. Under this rule, papers filed with the court should not contain: an
             individual's full social securjty number or full birth date; the full name of a person known to be a minor; or
             a complete financial account number. A filing may include only: the last four digits of a social security
             number; the year of an individual's birth; a minor's initials; and the last four digits of a financial account
             number.

             Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or
             any other materials to the Clerk's Office with this complaint.

             When submitted for filing, your complaint should be accompanied by the full filing fee or an application to
             proceed informa pauperis.
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"'·
                                                        ,,



      I.      The Parties to This Complaint

              A.    The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach
                    additional pages if n~eded.

                           Name                  Derrick lTerr2roe Oa\/{5
                           All other names by which you have been known:



                           ID Number
                           Current Institution    G,.....ee;nu.;x,od DeteatiottCefnfelr-'
                           Address                5 as? ~\e.Jd t)t.. .
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              B.    The.Defendant(s)

                    Provide. the information below for each defendant named in the complaint, whether
                    the defendant is an individual, a government agency, an organization, or a
                    corporation. Make sure. that the defendant(s) listed below are identical to those
                    contained in the above caption. For an individul:!,l defendant, include the person's job
                    or title (if known) and check whether you are bringing this complaint against them in
                    their individual capacity or official capacity, or both. Attach additional pages if
                    needed.

                    Defendant No. 1
                           Name                   De:>noa m,·tler-
                           Job or Title
                           (if known)
                           Shield Number
                           Employer               ~utbeCtl tlecd±h Par:+ne,r:;S
                           Address                &a8' lkl~, eld 6±.
                            ■    Individual capacity             l!I      Official capacity

                    Defendant No. 2
                           Name                                    .I.        ::~ --.l..'. L.;'
                                                                                        ~~  .




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                        Job or Title
                        (if known)
                        Shield Number
                        Employer
                        Address


                        .,, Individual capacity              ■     Official capacity

                Defendant No. 3
                        Name                   L+., (:_bod Ccx
                        Job or Title            Lf.
                        (if known)
                        Shield Number
;/                      Employer
                        Address


                        •     Individual capacity            ■     Official capacity

                Defendant No. 4
                        Name                   l.t 1 Montg<?mery
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                        (if known)
                        Shield Number
                        Employer               C--t,-eet'.1tAJOQd, Defeof i<>O C-e..tt/et
                        Address                s az e.,fJd:, dd          8t-

                        II    Individual capacity            ■     Official capacity

II.      Basis for Jurisdiction

         Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights,
         privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens v. Six
         Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
         federal officials for the violation of certain constitutional rights.




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       A.     Are you bringing suit against (check all that apply):
                                      -
              □       Federal officials (a Bivens claim)
              ■       State or local officials (a § 1983 claim)

       B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
              immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you
              are suing under section 1983, what federal constitutional or statutory right(s) do you
              claim is/are being violated by state or local officials?

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       C.     Plaintiffs suing under Bivens may only recover for the violation of certain
              constitutional rights. If you are suing under Bivens, what constitutional right(s) do you
              claim is/are being violated by federal officials?




       D.     Section 1983 allows defendants to be found liable only when they have acted "under
              color of any statute, ordinance, regulation, custom, or usage, of any State or. Territory
              or the District of Columbia." 42 U.S.C. § 1983. If you are suing under section 1983,
              explain how each defendant.acted under color of state or local law. If you are suing
              under Bivens, explain how each defendant acted under color of federal law. Attach
              additional pages if needed.

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III.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply):

       ~      Pretrial detainee
       □      Civilly committed detainee
       □      Immigration detainee


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      □      Convicted and sentenced state prisoner
      □      Convicted and sentenced federal prisoner
      dJ     Other (explain) _ _ _ _ _ _ _ _ _ _ __

IV.   Statement of Claim

      State as briefly as possible the facts of your case. Describe how each defendant was
      personally involved in the alleged wrongful action, along with the dates and locations of all
      relevant events. You may wish to include further details such as the names of other persons
      involved in the events giving rise to your claims. Do not cite any cases or statutes. If more
      than one claim is asserted, number each claim and write a short and plain statement of each
      claim in a separate paragraph. Attach additional pages if needed.

      A.     If the events giving rise to your claim arose outside an institution, describe where and
             when they arose.




      B.     If the events giving rise to your claim arose·in an institution, describe where and when
             they arose.




      C.     What date and approximate time did the events giving rise to your claim(s) occur?




      D.     What are the facts underlying your claim(s)? (For example: What happened to you?
             Who did what? Was anyone else involved? Who else saw what happened?)

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WITNESS:-   - - - - - - - PERSON GIVING STATEMENT:- - - - - - -
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V.      Injuries

        If you sustained injuries related to the events alleged above, describe your injuries and state
        what medical treatment, if any, you required and did or did not receive .

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VI.     Relief

        State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
        cases or statutes. If requesting money damages, include the amounts of any actual damages
        and/or punitive damages claimed for the acts alleged. Explain the basis for these claims .

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VII.    Exhaustion of Administrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action
       shall be brought with respect to prison conditions under section 1983 of this title, or any other
       Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
       administrative remedies as are available are exhausted."

       Administrative remedies are also known as grievance procedures.                  Your case may be
       dismissed if you have not exhausted your administrative remedies.


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   A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional
         facility?

         •      Yes
         □      No

         If yes, name the jail, prison, or other correctional facility where you were confined at
         the time of the events giving rise to your claim(s).
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   B.    Does the jail, prison, or other correctional facility where your claim(s) arose have a
         grievance procedure?

         I      Yes
         □      No
         □      Do not know

   C.    Does the grievance procedure at the jail, prison, or other correctional facility where
         your claim(s) arose cover some or all of your claims?

         □      Yes
         □      No
         □      Do not know

        If yes, which claim(s)?




   D.    Did you file a grievance in the jail, prison, or other correctional facility where your
        'claim(s) arose concerning the facts rell:l.ting to this complaint?

        •       Yes
        □       No




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         If no, did you file a grievance about the events described in this complaint at any other
        jail, prison, or other correctional facility?

         □       Yes
         □       No

   E.    If you did file a grievance:

         1.      Where did you file the grievance?

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         2.      What did you claim in your grievance?

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         3.      What was the result, if any?

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         4.     What steps, if any, did you take to appeal that decision? Is the grievance
                process completed? If not, explain why not. (Describe all efforts to appeal to
                the highest level of the grievance process.)

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      F.     If you did not file a grievance:

              1.     If there are any reasons why you did not file a grievance, state them here:




             2.      If you did not file a grievance but you did inform officials of your claim, state
                     who you informed, when and how, and their response, if any:




      G.      Please set forth any additional information that is relevant to the exhaustion of your
              administrative remedies.

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             (Note: You may attach as exhibits to this complaint any documents related to the
             exhaustion ofyour administrative remedies.)

VIII. Previous Lawsuits

      The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal
      court without paying the filing fee if that prisoner has "on three or more prior occasions, while
      incarcerated or detained in any facility, brought an action or appeal in a court of the United
      States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
      upon which relief may be granted, unless the prisoner is under imminent danger of serious
      physical injury." 28 U.S.C. § 1915(g).

      To the best of your knowledge, have you had a case dismissed based on this "three strikes
      rule"?

              □      Yes
              I      No




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   If so, state which court dismissed your case, when this occurred, and attach a copy of the
   order if possible.




   A.     Have you filed other lawsuits in state or federal court dealing with the same facts
          involved in this action?

          □      Yes
          II     No

   B.     If your answer to A is yes, describe each lawsuit by answering questions 1 through 7
          below. (If there is more than one lawsuit, describe the additional lawsuits on another
          page, using the same format.)

          1.     Parties to the previous lawsuit

                 Plaintiff(s)
                 Defendant(s)

          2.     Court (iffederal court, name the district; if state court, name the county and
                 State)



          3.     Docket or index number



          4.     Name of Judge assigned to your case



          5.     Approximate date of filing lawsuit



          6.     Is the case still pending?

                 □       Yes

                 □       No

                 If no, give the approximate date of disposition. _ _ _ _ _ _ _ __


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              7.      What was the result of the case? (For example: Was the case dismissed? Was
                     judgment entered in your favor? Was the case appealed?)




         C.   Have you filed other lawsuits in state or federal court otherwise relating to the
              conditions of your imprisonment?

              □      Yes
              ■      No

        D.    If your answer to C is yes,_ describe each lawsuit by answering questions 1 through 7
              below. (If there is more than one lawsuit, describe the additional lawsuits on another
              page, using the same format.)

              1.     Parties to the previous lawsuit

                     Plaintiff(s)
                     Defendant(s)

              2.     Court (if federal court, name the district; if state court, name the county and
                     State)




              3.     Docket or index number



              4.     Name of Judge assigned to your case



              5.     Approximate date of filing lawsuit



              6.     Is the case still pending?

                     □       Yes

                     □       No


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                       If no, give the approximate date of disposition. _ _ _ _ _ _ _ __

               7.       What was the result of the case? (For example: Was the case dismissed? Was
                       judgment entered in your favor? Was the case appealed?)




· IX.   Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
        knowledge, information, and belief that this complaint: (1) is not being presented for an-
        improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
        of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
        modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
        if specifically so identified, will likely have evidentiary support after a reasonable opportunity
        for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule 11.

        A.     For Parties Without an Attorney

               I agree to provide the Clerk's Office with any changes to my address where case-
               related papers may be served. I understand that my failure to keep a current address
               on file with the Clerk's Office may result in the dismissal of my case.

               Date of signing:        I I/
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               Signature of Plaintiff    ~ • ~ ~ ' : :"
               Printed Name of Plaintiff ...!_-~L....Lr_,_t,..!!,~..a:.:!~.u.;:;..---~
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        B.     For Attorneys

               Date of signing: _ _ _ __, 20            .

               Signature of Attorney
               Printed Name of Attorney
               Bar Number
               Name of Law Firm


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        Address
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        E-mail Address




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